
519 U.S. 1 (1996)
UNITED STATES DEPARTMENT OF STATE, BUREAU OF CONSULAR AFFAIRS, et al.
v.
LEGAL ASSISTANCE FOR VIETNAMESE ASYLUM SEEKERS, INC., et al.
No. 95-1521.
United States Supreme Court.
Argued October 15, 1996.
Decided October 21, 1996.
CERTIORARI TO THE UNITED STATES COURT OF APPEALS FOR THE DISTRICT OF COLUMBIA CIRCUIT
Deputy Solicitor General Kneedler argued the cause for petitioners. With him on the briefs were Acting Solicitor General Dellinger, Assistant Attorney General Hunger, Paul R. Q. Wolfson, Michael Jay Singer, and Robert M. Loeb. 
Daniel Wolf argued the cause for respondents. With him on the briefs were William R. Stein and Robert B. Jobe. 
Per Curiam.
The judgment is vacated, and the case is remanded to the United States Court of Appeals for the District of Columbia Circuit for further consideration in light of § 633 of the Illegal Immigration Reform and Immigrant Responsibility Act of 1996 (enacted as Division C of the Omnibus Consolidated Appropriations Act, 1997, Pub. L. 104-208, 110 Stat. 3009-701).
